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                                                                                               2019 Mar-15 AM 11:51
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA
                                                                  c): \C\-~\) - 4$o -ffi\\\\
                    UNITED STATES DISTRICT COURT" t f~
                                             for the
                      NORTHERN DISTRICT OF ALAB.Al\iM.9 r::.R I S A 10: 0 l




       Declaring that the information I have given below is true and correct, I apply to this court
for:

       D appointment of an attorney

       ~ority to commence an action without prepayment of fees, costs or security

I.     PERSONAL AND FINANCIAL DATA

       A.     Your full name and present mailing address:

               !) \.1-for<A L~         ~\A.r\~




       Telephone (if any):      n> ~ - Lf I J - 1-0,-0
       B.     Are you presently employed?             Yes   V          No - - - -

       If the answer is "yes," give the name and address of your employer and the amount of
       your usual weekly salary or wages.                    ..
             f«+-h    v-<-    \<.e.U 1 tsd "l '-4t• '1~ 5 ~ Serv, ' 4



       Weekly earnings: $ _ _\ -=--J-0-"---,_0_0_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



       If you are not presently employed, give name and address of your last employer, when
       you last worked, and the amount of weekly salary or wages you were receiving.




       Date last worked:     M~ ~       l 3. > ~t>l
                                              '1
                                            '
       Weekly earnings: $ _ _~_'6_1_._'t_D_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

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Approximately how much money have you received in the past twelve months:
as wages, salary, commissions, or earned income of any kind?         $   ? <B J (y.;(:::i
as interest, dividends, rents, or investment income of any kind?     $ _ _ _ _ _ __
as gifts or inheritance?                                             $
                                                                         -------
from social security, unemployment compensation, or.any form         $ _ _ _ _ _ __
of state or federal welfare payments or benefits?

from pensions, annuities, workmen's compensation, disability         $ _ _ _ _ _ __
or other insurance policies?

from all other sources?                                              $
                                                                         -------                         s."'
c.      How much money do you own or have in any checking or $           • • f~v<!.                        d~lfG,_(
        savings accounts?                                                                          ~'-::.}
                                                                                  ,,
                                                                                     ~      C-.
                                                                                            , , ve..   '-4.r:s.   s~,,..~
D.      Do you own any real estate, stocks, bonds, notes, automobiles, boats, or other
        valuable property (excluding ordinary household items and clothing)?
        Yes·          No     c/:
If the answer is "yes," describe the property and state its approximate value:




E.      How much money do you owe others?

As to each debt of over $100.00, state the name of the creditor, the approximate total
amount owed to that creditor, and the monthly payment amount you currently owe and/or
are paying to that creditor.
                 Fe,-d. e;~,C




F.      List the persons who are dependent upon you for support, stating your
relationship to them and how much you contribute each year toward their support.




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      G.      Are there any other persons regularly residing in your household who ~e over the
      age of 18 and who are presently employed?            Yes            No--"--,/
                                                                                 __

              If the answer is "yes," provide the following information for each such person:

              Name:
                    -------------------------~
              Relationship: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              Employer: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              Weekly earnings:$_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

              Name:
                     -------------------------~
              Relationship:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              Employer:_·------------------------
              Weekly earnings:$_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      H.      Any other information which you believe supports your claim that you cannot
      financially afford to make payment of court fees, costs, or security.
            :C   a(M.   cl,~.      ~         t:)C,y ..   ~   s~c......l'.   c..-J.   cc...-.   ~,....,   V\o   ~




                                 (Attach additional sheets as needed)

II.   EFFORTS TO OBTAIN AN ATTORNEY
      (To be completed if requesting Appointment of an Attorney)

      A.     Have you talked with an aUdmey about handling your claim?
             Yes           No - -r/  --
      If"yes," give the following information about each attorney with whom you have talked:
      Attorney: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      When:- - - - - - - - - - - - - - - - - - - - - - - - - - - - -
      Where:
            ·-----------------------------
      How (by telephone, in person, etc.): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



      Attorney: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      When: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      Where:
            -----------------------------
      How (by telephone, in person, etc.): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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        B.      Explain any other effect you have made to contact an attorney to handle your
                claim.                                                  ·




        C.      Any other information which supports your application for the court to appoint an
                attorney for you:




        D.      Name and address of each attorney who has represented you in the last ten (10)
                years for any purpose:



                                     (Attach additional sheets as needed)

III.    ATTESTATION AND SIGNATURE

Under penalty of perjury, I declare that the information given on the preceding _ _ pages is true
and correct.


Date:    f"'\w-vi,., l SJ '}o j "t

WITNESS:




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